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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT COURT OF MARYLAND

RICKEY NELSON JONES,                *

      Plaintiff                     *

      v.                            *   Civil Action No. 1:15-cv-3336 CCB

ADMINISTRATIVE OFFICE OF            *
THE COURTS, MD JUDICIARY,
                                    *

      Defendant                     *

*     *       *    *       *   *    *     *    *      *     *      *      *    *

    OPPOSITION TO PLAINTIFF’S MOTION TO AMEND COMPLAINT,
 DEFENDANT’S REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANT’S
                    MOTION TO DISMISS OR,
      IN THE ALTERNATIVE, FOR SUMMARY JUDGEMENT, AND
   DEFENDANT’S OPPOSITION TO PLAINTIFF’S CROSS-MOTION FOR
                     SUMMARY JUDGMENT




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Dated: February 15, 2016
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      Plaintiff                           *

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ADMINISTRATIVE OFFICE OF                  *
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                                          *

      Defendant                           *

*      *      *      *      *     *    *   *   *               *       *      *      *        *
                                  INTRODUCTION

      Plaintiff, Rickey Nelson Jones, brought suit against the Administrative Office of the

Courts (“AOC”) alleging race discrimination under 42 U.S.C. § 2000e. (ECF No. 1.) The

complaint arises out of the actions of the Judicial Nominating Commission for District 7

(Anne Arundel) in recommending other candidates, and not Mr. Jones, to the Governor for

appointment to a circuit court judicial vacancy. Id. The decision to make a judicial

appointment rests exclusively with the Governor. Md. Const. Art. IV, § 5.

      Defendant moved to dismiss the complaint arguing that: (1) state circuit court

judges are excluded from the protections of Title VII by virtue of their appointment to a

policymaking level position and ultimate election to the bench for a term of 15 years; and

(2) the Defendant, the Administrative Office of the Courts (“AOC”), is neither the

employer of a circuit court judge (the position to which Mr. Jones aspired) nor authorized

to exercise any substantive control over the recommendations of the Judicial Nominating

Commission. (ECF No. 8-1.)
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       Mr. Jones now requests leave to amend his complaint to add a new defendant, “the

Court of Appeals c/o Chief Judge Mary Ellen Barbera.”1 (ECF No. 11-2, at 1-2.) The

Court should deny this relief because, contrary to Plaintiff’s assertions, the motion for leave

to file an amended complaint is futile.2

       Mr. Jones also opposed Defendant’s motion to dismiss and cross-filed for summary

judgment. Defendant’s motion should be granted as Mr. Jones does not, as he cannot, offer

any basis upon which any of the named or proposed defendants can be liable under Title

VII. Indeed, the position for which Mr. Jones applied – circuit court judge – is not protected

by Title VII and, therefore, no claim can be stated under this statute. Accordingly, the

complaint should be dismissed and Plaintiff’s cross-motion for summary judgment denied.

                                       ARGUMENT

I.     DENIAL OF THE MOTION TO FILE AMENDED COMPLAINT IS
       REQUIRED WHERE AMENDMENT WOULD BE PREJUDICIAL,
       FUTILE, OR MADE IN BAD FAITH.

       Rule 15(a) directs that a plaintiff may amend his or her complaint “once as a matter

of course within…21 days after the service of a responsive pleading or 21 days after service

of a motion under Rule 12(b), (e), or (f), which is earlier.” After such time has passed or

if subsequent amendments are made, “a party may amend its pleading only with the

opposing party’s written consent or the court’s leave.” Fed. R. Civ. P. 15(a)(2).



1
 Mr. Jones has not, however, filed a memorandum in support of his motion to amend. ECF
No. 11.

2
 Defendant hereby incorporates the arguments advanced in its motion to dismiss and
accompanying memorandum (ECF No. 8-1) and the exhibits submitted in support thereof.
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       Under Fed. R. Civ. P. 15(a)(2), leave to amend a complaint should be freely given

“when justice so requires.” On the other hand, “denial of leave to amend is appropriate

when (1) the amendment would be prejudicial to the opposing party; (2) there has been bad

faith on the part of the moving party; or (3) the amendment would [be] futile.” Drager v.

PLIVA USA, Inc., 741 F.3d 470, 474 (4th Cir. 2014) (citation and internal quotation marks

omitted); see also Matrix Capital Mgmt. Fund, LP v. BearingPoint, Inc., 576 F.3d 172,

193 (4th Cir. 2009); Laber v. Harvey, 438 F.3d 404, 427 (4th Cir. 2006). An amendment

is futile if it would fail to withstand a motion to dismiss. Perkins v. United States, 55 F.3d

910, 917 (4th Cir. 1995). In order to survive a motion to dismiss, “a complaint must contain

sufficient factual matter, accepted as true, to state a claim [for] relief that is plausible on its

face.” Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007) (internal quotations omitted)).

II.    BECAUSE MR. JONES CANNOT MAKE A THRESHOLD SHOWING
       THAT MARYLAND CIRCUIT COURT JUDGES ARE COVERED
       EMPLOYEES WITHIN THE MEANING OF TITLE VII,
       AMENDMENT IS FUTILE AND DEFENDANT IS ENTITLED TO
       DISMISSAL OR JUDGMENT IN ITS FAVOR.

       Mr. Jones does not, as he cannot, offer any argument in response to Defendant’s

assertion that he is “not protected under Title VII” because the state circuit court judge

position for which he applied “fit[s] within the statute's exclusion” from the definition of

“employee.” Cromer v. Brown, 88 F.3d 1315, 1317 (4th Cir. 1996). (ECF No. 14.) That

is, the position of state circuit court judge is exempted from the protections of Title VII.

See e.g., Birch v. Cuyahoga Cty. Prob. Court, 392 F.3d 151, 160 (6th Cir. 2004) (probate

court magistrate, who was not subject to local civil service laws, made policy by resolving

                                                3
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disputes and recommending dispositions and was, therefore, exempt from protections of

Title VII as an employee at a policy making level); Burgess v. City of Lake City, No. 4:11-

CV-03478-RBH, 2013 WL 4056315, at *7 (D.S.C. Aug. 12, 2013) (municipal court judge

fell within policy-making exception to Title VII and the FLSA); Spann–Wilder v. City of

North Charleston, No. 2:08–0156–MBS, 2010 WL 3222235, at *6-7 (D.S.C. Aug. 13,

2010) (municipal court judge within policy-making exception to Title VII and EPA) and

71 Md. Op. Att'y Gen. 181 (1986) (noting that because circuit court judges are “required

to stand for election promptly after their appointment—generally, at the first election

occurring more than a year after the vacancy” -- all circuit court judges, are “elected to

public office”). (ECF No. 8-1 at 8-12.)

       Mr. Jones argues that “Defendant has presented itself as {a} state court judges and

{b} an office without authority or control over anything of substance” and that such

representations “overlook who is the true Defendant in this case.” (ECF No. 14, p. 1.) Mr.

Jones’ proposed amended complaint does little to clarify the identity of the “true

Defendant” alluded to here and his opposition simply fails to address the threshold issue

of the applicability of Title VII to circuit court judicial positions. See Frederico v. Home

Depot, 507 F.3d 188, 201-02 (3d Cir. 2007) (“It is axiomatic that a complaint may not be

amended by the briefs in opposition to a motion to dismiss.”) (citation omitted).

       Because Mr. Jones has not responded to this threshold argument, he has conceded

it. See McKeel v. United States, 178 F. Supp. 2d 493, 504 (D. Md. 2001) (“Plaintiff appears

to concede this point, as he has failed to respond to the government’s argument on this

point.”); Burns & Russell Co. of Baltimore v. Oldcastle, Inc., 166 F. Supp. 2d 432, 440 (D.

                                             4
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Md. 2001) (“Plaintiffs appear to concede this point, as they have failed to respond to this

argument.”). See also Brand v. North Carolina Dept. of Crime Control and Public Safety,

352 F. Supp. 2d 606, 618 (M.D.N.C. 2004) (where a plaintiff fails to respond to a

defendant’s arguments regarding a hostile work environment claim, plaintiff concedes he

has not stated a claim).

       Thus, as explained in Defendant’s motion to dismiss, and as the EEOC already

determined, the judicial position sought by Mr. Jones is exempt from the protections of

Title VII.3 (ECF No. 8-4, Attachment C (“The EEOC does not maintain jurisdiction over

the charge because the position to which charging party applied is exempt from Title VII

protection.”)) Accordingly, Mr. Jones cannot state a claim for race discrimination under

Title VII and his complaint must be dismissed.

III.   AMENDMENT IS FUTILE WHERE PLAINTIFF SEEKS TO ADD AN
       ENTITY NOT NAMED IN THE EEOC/MCCR CHARGE.

       Given that the judicial position is exempted from the protections of Title VII, is it

largely irrelevant which defendant is named in the complaint. Plaintiff nonetheless seeks

to amend his complaint to add the “Court of Appeals c/o Chief Judge Mary Ellen Barbera.”

In his motion to amend, Mr. Jones asserts only that “[b]ecause the judicial power of the

State of Maryland rests in the Court of Appeals, it is necessary to add this defendant to

eliminate any and all uncertainty.” (ECF No. 11, p. 1; ECF No. 11-2, ¶ 3.) Far from



3
 Mr. Jones’ citation to the Maryland Fair Employment Practices Act (FEPA) is unavailing
because Maryland law contains the same exemptions from coverage as Title VII -- persons
elected to public office and appointees on a policy making level. Md. Code Ann., State
Gov’t § 20-601(c)(2)(i) and (iii). (ECF No. 14, at 4.)
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illuminating how the “Court of Appeals c/o Chief Judge Mary Ellen Barbera” is Mr. Jones’

prospective employer, a proper respondent in a Title VII case, or that the Court exercised

any authority or control over the recommendations of the Judicial Nominating Commission

or the appointment decisions of the Governor, Mr. Jones’ motion and proposed amended

complaint fail to provide any basis for making the Court of Appeals a defendant in his Title

VII race discrimination suit. Thus, where Plaintiff’s amendment would not withstand a

motion to dismiss, the amendment is futile and should be denied. Perkins v. United States,

55 F.3d 910, 917 (4th Cir. 1995).

       A Title VII action “may be brought only against the respondent named in the

charge.” Causey v. Balog, 162 F.3d 795, 800 (4th Cir. 1998) (quoting 42 U.S.C. § 2000e–

5(f)(1)); see also Talbot v. U.S. Foodservice, Inc., 204 F.Supp.2d 881, 883 (D.Md. 2002).

The purpose of this requirement is two-fold. “First, it notifies the charged party of the

asserted violation. Secondly, it brings the charged party before the EEOC and permits

effectuation of the Act’s primary goal, the securing of voluntary compliance with the law.”

Johnson v. State of Md., 940 F. Supp. 873, 876 (D. Md. 1996) aff'd, 113 F.3d 1232 (4th

Cir. 1997) (quoting Alvarado v. Board of Trustees of Montgomery Community College,

848 F.2d 457, 458–59 (4th Cir. 1988)).

       It is beyond dispute that the only respondent identified in Mr. Jones’ EEOC/MCCR

charge is the Administrative Office of the Courts and not the Court of Appeals or the

Maryland Judiciary.4 (ECF No. 8-4, attachment A.) (ECF No. 11-2, ¶ 5.) Thus, the


4
  Although this Court need not decide this issue, the “Maryland Judiciary” is not a separate
legal entity capable of being sued and was not sued as a separate legal entity here. See
                                             6
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MCCR’s June 2, 2015 closing of his complaint was based on its finding that Mr. Jones had

“no established employee/employer relationship [with the Administrative Office of the

Courts, the entity identified in the charge].” (ECF No. 8-4, attachment B.) Mr. Jones may

not now amend his complaint to add as a defendant an entity that was not identified as a

respondent in the charge. See also ECF 8-2, ¶ 6. See also Demery v. McHugh, No. PWG-

13-2389, 2014 WL 4452672, at *7 (D. Md. Sept. 9, 2014) (denying motion to amend as

futile where plaintiff failed to name proposed defendant in her EEO charge).




generally Owens v. Baltimore City State's Attorney Office, 767 F.3d 379, 393 (4th Cir.
2014), cert. denied sub nom., Baltimore City Police Dep't v. Owens, 135 S. Ct. 1893 (2015)
(holding that the “‘Baltimore City State’s Attorney’s Office’ is a term of convenience”
referring to “the collection of government employees who work under the supervision of
the Baltimore City State’s Attorney” and is not “an entity amenable to suit”); Bost v. Office
of the State’s Atty., 2012 U.S. Dist. LEXIS 143133, 4-5 (D. Md. Oct. 1, 2012) (dismissing
“Office of the State’s Attorney” because “[u]nder Maryland law, the Office of the State’s
Attorney is not a separate legal entity subject to suit”); Kronk v. Carroll County, 2012 U.S.
Dist. LEXIS 8611 (D. Md. Jan. 25, 2012) (dismissing Sheriff’s Department because the
Sheriff’s Department is not a distinct legal entity capable of being sued). Capacity to sue
or be sued is determined in accordance with the laws of the state under which the entity is
organized. Fed. R. Civ. P. 17(b).
        Here, the judicial power of the State of Maryland is vested in the Court of Appeals,
sitting at the apex of the judicial system, which includes an intermediate appellate court,
circuit courts, orphans’ courts, and a district court. Md. Const. Art. IV, § 1, § 14. However,
no provision in the Constitution or state statutes creates or recognizes an entity entitled the
“Maryland Judiciary.” At most, the term “Judiciary” is used colloquially throughout the
state as shorthand for the judicial branch or judicial system. Such colloquial use, however,
does not create a distinct legal entity capable of being sued. Thus, just as the Fourth Circuit
found that the Office of the State’s Attorney was a “term of convenience” referring to the
persons who worked under the supervision of the State’s Attorney, the “Judiciary” is a
colloquial term used throughout the state courts, and supporting agencies. Such use,
however, does not imbue the term with a separate and distinct legal identity as required to
be a suable entity. See Owens, 767 F.3d at 393.


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       Moreover, the AOC and the Court of Appeals are two distinct legal entities and the

roles performed by the AOC and the Court of Appeals, both in general and with respect to

the judicial nominating process, do not permit any inference that the two are functionally

identical. See Alvarado, 848 F.2d at 460. The judicial power of the State of Maryland is

vested in the Court of Appeals, sitting at the apex of the judicial system. Md. Const. Art.

IV, § 1, § 14. The Court of Appeals is the highest court of the state and has exclusive

appellate jurisdiction over certified questions of law, and discretionary jurisdiction

controlled by the issuance of writs of certiorari. Md. Code Ann., Cts. & Jud. Proc. §§ 1-

301, 12-201, 12-307. The Court of Appeals is authorized and empowered by the Maryland

Constitution to perform judicial functions and exercises judicial authority.

       The Administrative Office of the Courts, on the other hand, is a statutorily created

entity managed by the State Court Administrator. See Md. Code Ann., Cts. & Jud. Proc. §

13-101(d) (duties of State Court Administrator) and (e) (duties of Administrative Office of

the Courts). Pursuant to Chief Judge Bell’s administrative order, the AOC is responsible

for the administrative processing of judicial vacancies. (ECF No. 8-3.) As delineated in

Defendant’s motion, none of those responsibilities include any authority over the selection

of the members of the Judicial Nominating Commission, or the recommendations of the

nominating commission. (ECF No. 8-1, at pp. 4-5.) The AOC does not evaluate, screen,

interview, or recommend candidates to the Governor for appointment to the bench.

       The Court of Appeals’ involvement in the judicial nominating process is even more

attenuated. The Court itself performs no function with respect to the judicial selection

process under the Governor’s Executive order (ECF No. 8-2) or the Chief Judge’s

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administrative order (ECF No. 8-3) and indeed the proposed amended complaint contains

no such allegations. (ECF No. 11-2.) The Court does not determine who sits on the

nominating commission, nor does it evaluate, screen, interview, or recommend candidates

to the Governor for appointment to the bench. (ECF No. 8-2, 3.) Moreover, the Governor

may appoint a judge from the list of names provided by a Judicial Nominating Commission

but is not obligated to do so. Md. Const. Art. IV, § 5.

       Here, because Mr. Jones failed to name the proposed defendant in his EEOC charge,

he has failed to exhaust his administrative remedies, and may not amend his complaint to

add this defendant.

IV.    PLAINTIFF FAILS TO ALLEGE ANY FACTUAL BASIS FOR MAKING THE
       COURT OF APPEALS A DEFENDANT OR ANY CONDUCT OR ACTION OF THE
       COURT THAT COULD SUBJECT THE COURT TO LIABILITY.

       In his proposed amended complaint, the sole statement made concerning the Court

of Appeals is that “the Court of Appeals of Maryland c/o that court’s chief judge, in which

the judicial power of the State of Maryland rests [is a defendant].” (ECF No. 8-2, ¶ 3.) The

proposed amended complaint contains no factual allegations identifying any conduct or

action of the Court of Appeals upon which the Court could be found amenable to suit much

less liable under Title VII. Indeed, Mr. Jones does not allege a prospective employment

relationship with the Court of Appeals, nor does he allege that the Court had any authority

over the Nominating Commission’s recommendations or, ultimately, the Governor’s

selection of judicial candidates, or that the Court or any of its members took any action

upon which liability can be based. (ECF 11-2.)



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       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

129 S. Ct. 1937, 1949 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570

(2007)). This “plausibility” standard demands “more than a sheer possibility that a

defendant has acted unlawfully.” Iqbal, 129 S. Ct. at 1949 (quoting Twombly, 550 U.S. at

556). It is not sufficient that the pleadings merely “le[ave] open the possibility that the

plaintiff might later establish some set of undisclosed facts to support recovery.” Id. at

1968 (internal quotation and alteration omitted).

       Here, Mr. Jones has failed to identify any conduct of the AOC or the Court of

Appeals that could form a basis for imposing liability under Title VII – the complaint fails

to allege any prospective employment relationship with these two defendants, and further

fails to allege that either defendant exercised any control over the recommendations of the

Judicial Nominating Commission or the appointment decisions of the governor.

       To the extent that Plaintiff seems to be arguing that the AOC, the Court of Appeals,

the Maryland Judiciary and the State of Maryland are all a single Defendant, such argument

necessarily fails. First, the State of Maryland was neither identified as a respondent in the

EEOC charge nor named as a defendant in this suit. See also Frederico v. Home Depot,

507 F.3d 188, 201-02 (3d Cir. 2007) (“It is axiomatic that a complaint may not be amended

by the briefs in opposition to a motion to dismiss.”) (citation omitted).          Second, the

Maryland Judiciary is not a distinct legal entity capable of being sued. See supra, p. 7 and

note 4. Third, a Title VII claim may only be brought against an employer and the complaint



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contains no factual allegations concerning any prospective employment relationship

between Mr. Jones and the AOC or the Court of Appeals.

       While the Court of Appeals may employ staff, the Court itself is not the employer

of state circuit court judges. See Md. Code Ann., Cts. & Jud. Proc. §§ 2-401 and 2-402

(appellate court shall appoint a clerk who may employ deputy clerks and other employees,

and court may appoint law clerks, stenographers, and other employees). Likewise, although

the AOC may employ staff through the State Court Administrator, it is not the employer

of state circuit court judges. See Md. Code Ann., Cts. & Jud. Proc. § 13-101(b) (State

Court Administrator may appoint employees necessary to carry out her duties).

       Under Title VII, it is “an unlawful employment practice for ‘an employer’ to

discriminate against ‘an employee’ because of such individual's race, color, religion, sex,

or national origin.” 42 U.S.C. § 2000e-2(a)(1) (2015); see Robinson v. Shell Oil Co., 519

U.S. 337 (1997) (stating that only an “employee” may sue under Title VII). Here, neither

the AOC nor the Court of Appeals was Mr. Jones’ prospective employer. Moreover, the

complaint contains no factual allegations establishing any prospective employment

relationship between Mr. Jones and the AOC or the Court of Appeals. Nor does it identify

any conduct by these purported defendants that could result in liability under Title VII.

       Where, as here, Plaintiff has failed to demonstrate that his prospective employment

is covered by Title VII, the suit must be dismissed. Even if this Court were to permit the

Title VII claim to go forward, Defendant would be entitled to discovery on the issues and

claims raised in Plaintiff’s complaint. Plaintiff’s cross-motion for summary judgment must

be denied because Plaintiff has not stated a Title VII claim for which relief may be granted,

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and because Defendant would need discovery to explore and address Plaintiff’s allegations.

Moreover, Plaintiff has not alleged, much less demonstrated, that there is no genuine

dispute of material fact at issue in this case or that he is entitled to judgment as a matter of

law on his disparate impact and disparate treatment claims. Fed. R. Civ. P. 56(a). At a

minimum, the exhibits offered by Plaintiff fail to support his broad assertions. For

example, Exhibit C purports to be a list of names of Anne Arundel County Circuit Court

judges. (ECF No. 14, at 9.) The document is neither authenticated nor does it support the

proposition for which it is cited – that Judge Warren was the only other African American

circuit court judge appointed to the bench as the list contains no information regarding sex

or race.5 Id. Moreover, no evidence or affidavits have been offered in support of or

explaining the statistics cited in Plaintiff’s memorandum. Id. Further, Plaintiff’s own

affidavits do not substantiate his asserted legal experience. Compare Ex. G (ECF 14-2)

and representation of experience at ECF 14, p. 13. Plaintiff fails to meet his burden of

demonstrating that he is entitled to summary judgment as a matter of law.




5
  Although Plaintiff’s memorandum does not identify the other African American Judge,
the Court may take judicial notice that the Honorable Clayton Green, Jr. served on the
circuit court as an associate judge, and then as both County and Circuit Administrative
Judge until 2002, when he was elevated to the Court of Special Appeals representing the
5th Appellate Judicial Circuit (Anne Arundel, Charles, Calvert, & St. Mary’s Counties). In
2004, he was elevated to the Court of Appeals representing the same judicial circuit. See
http://msa.maryland.gov/msa/mdmanual/29ap/html/msa12365.html
(last checked February 12, 2016)
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                                    CONCLUSION

      For the foregoing reasons, the Court should deny Plaintiff’s motion to amend as

futile, deny Plaintiff’s cross-motion for summary judgment, and dismiss the complaint with

prejudice. Alternatively, the Court should grant judgment in favor of Defendant.

                                                       Respectfully submitted,

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                                                       Attorney General of Maryland

                                                                    /s/
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                                                       Attorneys for Defendant


Dated: February 15, 2016




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                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 15th day of February, 2016 a copy of the
foregoing Opposition To Plaintiff’s Motion To Amend Complaint, Defendant’s Reply To
Plaintiff’s Opposition To Defendant’s Motion To Dismiss Or, In The Alternative, For
Summary Judgement, And Defendant’s Opposition To Plaintiff’s Cross-Motion For
Summary Judgment was served by electronic means via the Court’s Case
Management/Electronic Case Files (CM/ECF) system on the persons entitled to receive
such notice:

   Rickey Nelson Jones
   Law Offices of Reverend Rickey Nelson Jones
   3rd floor – Suite 5
   1701 Madison Avenue
   Baltimore, MD 21217

      Plaintiff



                                                               /s/
                                                     Michele J. McDonald
                                                     Assistant Attorney General
